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                           Exhibit D
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Sorenson Law Office
PO Box 10836
Eugene, OR 97440
United States
(541) 606-9173




Sarah Katherine Naumes                                                                    Balance       $148,239.75
1146 Monticello Court                                                                     Invoice #     00575
Merced, CA 95341                                                                          Invoice Date  February 8, 2023
United States                                                                             Payment Terms
                                                                                          Due Date




Naumes v. Army

Time Entries

Date         EE      Activity          Description                                                 Rate   Hours   Line Total
04/28/2021   CPS     Judicial Review   Discuss judicial review with client                      $653.00     0.6    $391.80
                                       Review administrative record to assist w/ drafting
04/28/2021   CPS     Judicial Review                                                            $653.00     0.2    $130.60
                                       Complaint
                                       Review email from Army re: questions about
04/30/2021   CPS     Judicial Review   request from Army for Ms. Naumes and email to            $653.00     0.2    $130.60
                                       Ms. Naumes
05/04/2021   CPS     Judicial Review   Review administrative record for drafting Complaint      $653.00     0.7    $457.10
05/05/2021   CPS     Judicial Review   Confer with client about judicial review                 $653.00     0.9    $587.70

                                       TC with client to discuss sharing docs with other
05/05/2021   CPS     Judicial Review                                                            $653.00     0.2    $130.60
                                       attorney
                                       Review administrative record for use in drafting
05/06/2021   CPS     Judicial Review                                                            $653.00     0.9    $587.70
                                       Complaint
05/06/2021   CPS     Judicial Review   Email Marc Kardell re: steps to screen                   $653.00     0.2    $130.60

05/06/2021   CPS     Judicial Review   Email client re: update on screening                     $653.00     0.2    $130.60
                                       BAJ: review administrative record in preparation for
05/06/2021   KL      Judicial Review                                                            $200.00     1.3    $260.00
                                       drafting Complaint

                                       BAJ: review administrative record in preparation for
05/06/2021   KL      Judicial Review                                                            $200.00     0.7    $140.00
                                       drafting Complaint

                                       Legal research on intersection of copyright and
05/09/2021   CPS     Judicial Review                                                            $653.00     1.2    $783.60
                                       FOIA

                     Judicial Review   Legal research on FOIA office direction on
05/09/2021   CPS                                                                                $653.00     0.8    $522.40
                                       copyright

05/09/2021   CPS     Judicial Review   Legal research on prevailing party status                $653.00     1.0    $653.00
                                       TC Marc Kardell re: need more detail on admin
05/11/2021   CPS     Judicial Review                                                            $653.00     0.3    $195.90
                                       record to assist in drafting Complaint

05/11/2021   CPS     Judicial Review   Email to client on next steps to file case               $653.00     0.2    $130.60
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                                       TC client re: answering questions about factual
06/04/2021   CPS     Judicial Review                                                           $653.00   0.5   $326.50
                                       components of draft Complaint

06/08/2021   CPS     Judicial Review   Draft Complaint                                         $653.00   0.2   $130.60
                                       TC client answering questions about reference
06/09/2021   CPS     Judicial Review                                                           $653.00   0.2   $130.60
                                       numbers for Complaint draft
06/10/2021   KL      Judicial Review   BAJ: prepare filing documents                           $200.00   0.6   $120.00

06/11/2021   KL      Judicial Review   BAJ: draft Complaint                                    $200.00   1.4   $280.00

06/11/2021   KL      Judicial Review   BAJ: draft Complaint                                    $200.00   2.0   $400.00
06/11/2021   KL      Judicial Review   BAJ: edit Complaint                                     $200.00   0.6   $120.00

06/11/2021   CPS     Judicial Review   Revise Complaint draft                                  $653.00   0.2   $130.60
06/11/2021   CPS     Judicial Review   Revise Complaint                                        $653.00   0.1    $65.30

06/12/2021   CPS     Judicial Review   Revise Complaint                                        $653.00   0.2   $130.60
06/14/2021   KL      Judicial Review   BAJ: edit Complaint                                     $200.00   0.5   $100.00

06/14/2021   KL      Judicial Review   BAJ: edit Complaint                                     $200.00   0.3    $60.00
06/16/2021   KL      Judicial Review   BAJ: revise Request                                     $200.00   0.5   $100.00

06/16/2021   CPS     Judicial Review   Revise Complaint                                        $653.00   0.2   $130.60

                                       BAJ: send email requesting additional
06/17/2021   KL      Judicial Review                                                           $200.00   0.1    $20.00
                                       communications w/ government after April 28

06/17/2021   KL      Judicial Review   BAJ: revise Complaint                                   $200.00   0.5   $100.00

06/17/2021   KL      Judicial Review   BAJ: edit Complaint                                     $200.00   0.1    $20.00

06/17/2021   KL      Judicial Review   BAJ: create Exhibits                                    $200.00   1.6   $320.00
06/19/2021   CPS     Judicial Review   Revise and edit Complaint                               $653.00   0.6   $391.80

06/21/2021   KL      Judicial Review   BAJ: edit Complaint                                     $200.00   0.1    $20.00

06/21/2021   KL      Judicial Review   BAJ: edit Complaint                                     $200.00   0.2    $40.00

06/21/2021   CPS     Judicial Review   Revise Complaint                                        $653.00   0.1    $65.30
06/21/2021   CPS     Judicial Review   TC client re: revising Complaint                        $653.00   0.2   $130.60

06/21/2021   CPS     Judicial Review   TC Mr. Kardell re: modifying Complaint                  $653.00   0.5   $326.50

                                       Review filing of case for tomorrow; answer
06/21/2021   CPS     Judicial Review                                                           $653.00   0.5   $326.50
                                       questions about case from client

06/22/2021   KL      Judicial Review   BAJ: file case                                          $200.00   0.9   $180.00
06/22/2021   KL      Judicial Review   BAJ: prepare service packet                             $200.00   0.3    $60.00

06/22/2021   CPS     Judicial Review   Revise Civil Cover Sheet                                $653.00   0.1    $65.30

06/22/2021   CPS     Judicial Review   Supervise filing of Complaint and Attachments           $653.00   0.3   $195.90

                                       Email to client re: perspective on Judge Boasbarg
06/22/2021   CPS     Judicial Review                                                           $653.00   0.1    $65.30
                                       for client's info

06/23/2021   KL      Judicial Review   BAJ: prepare packet for service                         $200.00   0.5   $100.00
                                       Case management - reading and filing case
06/24/2021   KL      Judicial Review                                                           $200.00   0.2    $40.00
                                       emails; noting dates

                                       Email to Special US Attorney Colsia re: Plaintiff not
07/03/2021   CPS     Judicial Review   consenting to Magistrate and offering extension to      $653.00   0.2   $130.60
                                       govern next answer

07/23/2021   CPS     Judicial Review   Read email from AUSA re: possible stay                  $653.00   0.1    $65.30
07/23/2021   CPS     Judicial Review   TC Marc Kardell re: possible response                   $653.00   0.1    $65.30

                                       Email to AUSA Colsia requesting info about JSR
07/23/2021   CPS     Judicial Review                                                           $653.00   0.2   $130.60
                                       and possible stay
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                                       TC client re: possible stay and getting client
07/23/2021   CPS     Judicial Review                                                           $653.00   0.1    $65.30
                                       perspective

07/26/2021   CPS     Judicial Review   Review D's proposed JSR                                 $653.00   0.2   $130.60

07/26/2021   CPS     Judicial Review   TC AUSA Colsia re: JSR                                  $653.00   0.1    $65.30

07/26/2021   CPS     Judicial Review   Email to client updating her on negotiations            $653.00   0.2   $130.60

07/26/2021   CPS     Judicial Review   Review Answer                                           $653.00   0.2   $130.60
07/26/2021   CPS     Judicial Review   Review JSR                                              $653.00   0.1    $65.30

07/26/2021   CPS     Judicial Review   Review Court Order                                      $653.00   0.1    $65.30

07/28/2021   KL      Judicial Review   HM: drafting Proof of Service                           $200.00   0.6   $120.00

07/30/2021   CPS     Judicial Review   Review Proof of Service                                 $653.00   0.2   $130.60
08/06/2021   CPS     Judicial Review   TC client re: items left off D's release                $653.00   0.1    $65.30

                                       Email to AUSA Colsia, requesting bates paginated
08/06/2021   CPS     Judicial Review                                                           $653.00   0.2   $130.60
                                       records

                                       Read email from AUSA Colsia re: records release
08/06/2021   CPS     Judicial Review                                                           $653.00   0.2   $130.60
                                       issues

                                       Email to Ms. Colsia about case law Army has on
08/13/2021   CPS     Judicial Review                                                           $653.00   0.2   $130.60
                                       copyright
                                       Draft email to Ms Colsia re: Army's "assurances"
08/16/2021   CPS     Judicial Review                                                           $653.00   0.5   $326.50
                                       and opinion asking for records

08/16/2021                             Read email from Ms Naumes re: copyrighted
             CPS     Judicial Review                                                           $653.00   0.2   $130.60
                                       materials

08/17/2021   CPS     Judicial Review   Legal research on FOIA and copyright                    $653.00   0.5   $326.50

                                       Email client on next steps and options for client on
08/17/2021   CPS     Judicial Review                                                           $653.00   0.4   $261.20
                                       upcoming JSR

08/18/2021   CPS     Judicial Review   Review options for client (TC Marc Kardell)             $653.00   0.5   $326.50

08/19/2021   CPS     Judicial Review   Email client re: upcoming JSR                           $653.00   0.2   $130.60

08/31/2021   CPS     Judicial Review   Planning for JSR due 9-17-21                            $653.00   0.2   $130.60

                                       Email Ms Colsia re: Plaintiff's concerns for
08/31/2021   CPS     Judicial Review                                                           $653.00   0.2   $130.60
                                       upcoming JSR

08/31/2021   CPS     Judicial Review   TC Ms Colsia re: preparing for 9-17-21 JSR              $653.00   0.2   $130.60

                                       Email client updating her on negotiations over
08/31/2021   CPS     Judicial Review                                                           $653.00   0.2   $130.60
                                       upcoming JSR

09/02/2021   CPS     Judicial Review   TC Marc Kardell re: errors in D's JSR                   $653.00   0.3   $195.90

09/02/2021   CPS     Judicial Review   TC client ok on schedule                                $653.00   0.1    $65.30

09/02/2021   CPS     Judicial Review   Revise D's proposed JSR                                 $653.00   0.2   $130.60

09/02/2021   CPS     Judicial Review   Email Ms Colsia re: changes in JSR                      $653.00   0.2   $130.60

09/02/2021   CPS     Judicial Review   Outlining Law Memo                                      $653.00   0.4   $261.20
                                       Confer w/clients re: client availability for briefing
09/03/2021   CPS     Judicial Review                                                           $653.00   0.2   $130.60
                                       process

09/03/2021   CPS     Judicial Review   Revise JSR                                              $653.00   0.2   $130.60

09/03/2021   CPS     Judicial Review   TC client re: client approval of JSR                    $653.00   0.1    $65.30
09/03/2021   CPS     Judicial Review   Email Ms Colsia (AUSA) re: P's changes in JSR           $653.00   0.1    $65.30

09/09/2021   CPS     Judicial Review   Email client re: her Declaration                        $653.00   0.2   $130.60
09/10/2021   CPS     Judicial Review   TC Srah Naumes re: Declaration                          $653.00   0.1    $65.30
09/10/2021   CPS     Judicial Review   Review Law Memo w/Mr Kardell                            $653.00   1.3   $848.90

09/14/2021   CPS     Judicial Review   Review outline for Law Memo for P's XMSJ                $653.00   0.2   $130.60
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09/21/2021   CPS     Judicial Review   Drafting concerns about client Declaration             $653.00   0.2   $130.60

10/04/2021   KL      Judicial Review   CF: compiling legal docs for review                    $200.00   0.2    $40.00

                                       CF: merging doc drafts of Decl; emailing attorneys
10/04/2021   KL      Judicial Review                                                          $200.00   0.5   $100.00
                                       and paralegals re: decl. docs
                                       CF: formatting Decl; draft email to marc; fetching
10/11/2021   KL      Judicial Review                                                          $200.00   0.4    $80.00
                                       legal docs for marc

                                       CF: assisting Mr Kardell re: connect with legal docs
10/11/2021   KL      Judicial Review                                                          $200.00   0.1    $20.00
                                       in digital Cloud
10/12/2021   CPS     Judicial Review   Revise client's Declaration                            $653.00   1.0   $653.00
                                       TC client re: questions about her Declaration in
10/13/2021   CPS     Judicial Review                                                          $653.00   0.5   $326.50
                                       Opposition to D's MSJ

                                       CF: creating legal memo template; email to
10/14/2021   KL      Judicial Review                                                          $200.00   0.2    $40.00
                                       attorney re: template
                                       Conference with client roadmapping upcoming
10/22/2021   HM      Judicial Review                                                          $200.00   1.2   $240.00
                                       filings

10/22/2021   HM      Judicial Review   Arranging docs with legal team                         $200.00   0.2    $40.00

10/22/2021   HM      Judicial Review   Arranging docs with legal team                         $200.00   0.2    $40.00

10/23/2021   CPS     Judicial Review   Review Mr Kardell's draft Law Memo                     $653.00   0.2   $130.60
10/24/2021   CPS     Judicial Review   Review dox recent received by client                   $653.00   0.5   $326.50

10/24/2021   CPS     Judicial Review   Email client re: preparing for conference              $653.00   0.1    $65.30
10/25/2021   CPS     Judicial Review   Prepare for conference w/client                        $653.00   0.3   $195.90
                                       Conference call w/client, Mr Kardell, and Mr
10/25/2021   CPS     Judicial Review                                                          $653.00   1.3   $848.90
                                       Farnsworth to discuss P's CMSJ

10/26/2021   CPS     Judicial Review   Read list of dox filed by Defendant                    $653.00   0.3   $195.90
10/28/2021   CPS     Judicial Review   Email client re: Declaration                           $653.00   0.2   $130.60

10/28/2021   CPS     Judicial Review   Review D's MSJ                                         $653.00   0.1    $65.30
10/28/2021   CPS     Judicial Review   Review D's Proposed Order                              $653.00   0.1    $65.30
10/28/2021   CPS     Judicial Review   Review D's Statement of Facts                          $653.00   0.2   $130.60

10/28/2021   CPS     Judicial Review   Review D's Law Memo                                    $653.00   0.4   $261.20
10/28/2021   CPS     Judicial Review   Revise client Declaration                              $653.00   0.5   $326.50
10/29/2021   CPS     Judicial Review   Revise Naumes Declaration                              $653.00   0.2   $130.60

10/29/2021   CPS     Judicial Review   Revise client Declaration                              $653.00   0.3   $195.90

10/30/2021   CPS     Judicial Review   Review Declaration                                     $653.00   0.4   $261.20
10/31/2021   CPS     Judicial Review   Revise P's Declaration                                 $653.00   0.9   $587.70

10/31/2021   CPS     Judicial Review   Email client re: settlement ideas                      $653.00   0.1    $65.30
10/31/2021   CPS     Judicial Review   TC client re: revising Declaration                     $653.00   0.4   $261.20
11/02/2021   CPS     Judicial Review   Revise Declaration                                     $653.00   0.5   $326.50

11/02/2021   CPS     Judicial Review   TC Sarah Naumes re: Declaration                        $653.00   0.4   $261.20

11/02/2021   CPS     Judicial Review   Draft Law Memo                                         $653.00   0.6   $391.80
11/02/2021   CPS     Judicial Review   Review Declaration                                     $653.00   0.1    $65.30

11/02/2021   CPS     Judicial Review   Review and improve Declaration                         $653.00   0.2   $130.60
                                       Conference call w/client and team re: Exhibit
11/03/2021   CPS     Judicial Review                                                          $653.00   0.8   $522.40
                                       selection
                                       Conference call w/client and jr lawyer and clerk re:
11/03/2021   CPS     Judicial Review                                                          $653.00   1.1   $718.30
                                       Law Memo
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                                       Conference call w/client and team re: Statement of
11/03/2021   CPS     Judicial Review                                                        $653.00   0.3   $195.90
                                       Facts
11/03/2021   CPS     Judicial Review   Review Exhibits                                      $653.00   0.1    $65.30

                                       HM: conference call with team and Sarah Naumes
11/03/2021   KL      Judicial Review                                                        $200.00   0.3    $60.00
                                       re: Exhibits
11/03/2021   HM      Judicial Review   Reviewing Naumes Decl and Draft Legal Memo           $200.00   1.7   $340.00

11/03/2021   HM      Judicial Review   Reviewing Defendants Legal Memo                      $200.00   0.7   $140.00
                                       Prepping for 10:30 meeting with client; meeting
11/03/2021   HM      Judicial Review                                                        $200.00   2.4   $480.00
                                       with client
11/05/2021   CPS     Judicial Review   Revise Declaration                                   $653.00   0.3   $195.90

11/05/2021   CPS     Judicial Review   Draft Statement of Facts                             $653.00   0.3   $195.90

                                       Read D's Decl. - research sources of redactions
11/08/2021   HM      Judicial Review                                                        $200.00   0.5   $100.00
                                       found in public domain
                                       Sent email to client and office re: findings of
11/08/2021   HM      Judicial Review                                                        $200.00   0.2    $40.00
                                       research

                                       Reading D's legal memo for MSJ; compile arg for
11/08/2021   HM      Judicial Review                                                        $200.00   0.7   $140.00
                                       MSJ
11/08/2021   HM      Judicial Review   Editing P's Legal Memo                               $200.00   0.6   $120.00
11/09/2021   CPS     Judicial Review   Review and edit Law Memo                             $653.00   0.2   $130.60

11/09/2021   CPS     Judicial Review   Revise client Declaration for clarity                $653.00   0.2   $130.60
11/09/2021   HM      Judicial Review   Editing P's Legal Memo                               $200.00   1.1   $220.00
11/09/2021   HM      Judicial Review   Editing P's Legal Memo                               $200.00   1.0   $200.00

11/10/2021   CPS     Judicial Review   Revise Law Memo                                      $653.00   0.3   $195.90
11/10/2021   HM      Judicial Review   Revise Memo                                          $200.00   0.3    $60.00

                                       Revising paralegal's first draft of memo: Into,
11/11/2021   HM      Judicial Review                                                        $200.00   1.9   $380.00
                                       Summary of Facts
                                       Revising paralegal's first draft of memo: FOIA
11/11/2021   HM      Judicial Review   purpose; legal standard; merging Statement of        $200.00   2.1   $420.00
                                       Facts with Summary of Facts
                                       Revising paralegal's first draft of memo: merging
                                       Statement of Facts with Summary of Facts for
11/11/2021   HM      Judicial Review   accurate time line to revise section on agency's     $200.00   2.3   $460.00
                                       failure to produce timely responses to FOIA
                                       requests
                                       Revising paralegal's first draft of memo: Adequacy
11/11/2021   HM      Judicial Review                                                        $200.00   1.0   $200.00
                                       search section

                                       Revising paralegal's first draft of memo: Adequacy   $200.00         $440.00
11/11/2021   HM      Judicial Review                                                                  2.2
                                       search section
11/11/2021   HM      Judicial Review   Edit and review Law Memo                             $200.00   0.4    $80.00

                                       Revising paralegal's first draft of memo: Adequacy
11/11/2021   HM      Judicial Review                                                        $200.00   1.9   $380.00
                                       search section 7; 7A; and 7B.
                                       Revising paralegal's first draft of memo: Adequacy
11/11/2021   HM      Judicial Review                                                        $200.00   2.4   $480.00
                                       search section 7C
                                       Revising paralegal's first draft of memo: review
11/11/2021   HM      Judicial Review                                                        $200.00   0.3    $60.00
                                       section 8

11/12/2021   CPS     Judicial Review   Edit/review Law Memo                                 $653.00   0.4   $261.20
11/12/2021   CPS     Judicial Review   Review client Declaration                            $653.00   0.2   $130.60
11/15/2021   CPS     Judicial Review   Revise Opp. to D's MSJ                               $653.00   0.2   $130.60

11/15/2021   CPS     Judicial Review   Revise P's Cross Motion                              $653.00   0.2   $130.60
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11/15/2021   CPS   Judicial Review   Review Exhibits                                        $653.00   0.2   $130.60
                                     Revising paralegal's first draft of memo: section
11/15/2021   HM    Judicial Review                                                          $200.00   1.5   $300.00
                                     8A: research Ruston

11/15/2021   HM    Judicial Review   Preparing Exhibits                                     $200.00   0.6   $120.00
11/15/2021   HM    Judicial Review   Revising paralegal's first draft of memo: section 8A   $200.00   0.6   $120.00

11/15/2021   HM    Judicial Review   Revising paralegal's first draft of memo: section 8A   $200.00   1.5   $300.00
                                     Revising paralegal's first draft of memo: section
11/16/2021   HM    Judicial Review                                                          $200.00   1.5   $300.00
                                     8A; research into public domain and confidentiality
                                     Revising paralegal's first draft of memo: section
11/16/2021   HM    Judicial Review                                                          $200.00   0.9   $180.00
                                     8A; conclusion

                                     Finalize Naumes Decl. for approval;
11/16/2021   HM    Judicial Review                                                          $200.00   2.4   $480.00
                                     outlining/highlight paragraphs for use in memo
                                     Review docket to make sure all court docs have
11/16/2021   CPS   Judicial Review                                                          $653.00   0.2   $130.60
                                     been reviewed
11/16/2021   CPS   Judicial Review   Review Proof of Service                                $653.00   0.2   $130.60

11/16/2021   CPS   Judicial Review   Review Exhibits                                        $653.00   0.3   $195.90

11/17/2021   HM    Judicial Review   Reviewing edits to section 8                           $200.00   0.2    $40.00

11/17/2021   HM    Judicial Review   Revising Statement of Facts                            $200.00   0.5   $100.00
11/17/2021   HM    Judicial Review   Reviewing Defendants Legal Memo for MSJ                $200.00   0.5   $100.00
11/17/2021   HM    Judicial Review   Drafting new section 8B of memo                        $200.00   2.0   $400.00

                                     Revising section 8A; research into "actual treats"
11/17/2021   HM    Judicial Review                                                          $200.00   0.8   $160.00
                                     requiring inquiry
11/17/2021   HM    Judicial Review   Revising section 9: researching fair use factors       $200.00   1.4   $280.00
11/17/2021   HM    Judicial Review   Reviewing edits to section 8; drafting of section 8C   $200.00   1.4   $280.00

11/17/2021   CPS   Judicial Review   Revise Law Memo                                        $653.00   0.3   $195.90
11/17/2021   CPS   Judicial Review   Review Law Memo re: references to AR 25-55             $653.00   0.2   $130.60

11/18/2021   HM    Judicial Review   Revising law memo                                      $200.00   0.3    $60.00
                                     Revising Law Memo: down to section 4; fixing
11/18/2021   HM    Judicial Review                                                          $200.00   2.0   $400.00
                                     exhibits and citations
11/18/2021   HM    Judicial Review   Revising Law Memo: down to section 6C                  $200.00   1.2   $240.00

11/18/2021   HM    Judicial Review   Revising Law Memo: down to section 9                   $200.00   1.8   $360.00
11/18/2021   HM    Judicial Review   Revising Law Memo: down to end; Draft conclusion       $200.00   0.8   $160.00

11/18/2021   HM    Judicial Review   Fixing Exhibit 102                                     $200.00   0.3    $60.00

11/18/2021   CPS   Judicial Review   Revise Law Memo                                        $653.00   0.3   $195.90
11/18/2021   CPS   Judicial Review   TCF client re: procedure to sign Decl                  $653.00   0.1    $65.30
11/18/2021   CPS   Judicial Review   Revise Law Memo                                        $653.00   0.6   $391.80
11/19/2021   HM    Judicial Review   Revising Law Memo: Resolving side comments             $200.00   0.7   $140.00
                                     Revising memo: 2nd read through: citation check
11/19/2021   HM    Judicial Review                                                          $200.00   1.8   $360.00
                                     down to section 3
                                     Revising memo declaration: making changes
11/19/2021   HM    Judicial Review                                                          $200.00   1.9   $380.00
                                     suggested by sr. atty

11/19/2021   HM    Judicial Review   Revising memo's formatting                             $200.00   0.5   $100.00
11/19/2021   HM    Judicial Review   Revising memo generally                                $200.00   1.1   $220.00
11/19/2021   CPS   Judicial Review   Revise Law Memo                                        $653.00   1.5   $979.50
11/19/2021   CPS   Judicial Review   Oversee filing of Proof of Service                     $653.00   0.2   $130.60
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11/19/2021   CPS     Judicial Review   Revise Law Memo                                         $653.00   1.0   $653.00

11/19/2021   CPS     Judicial Review   Revise client Decl                                      $653.00   0.2   $130.60
11/21/2021   CPS     Judicial Review   TC Sarah Naumes re: Law Memo                            $653.00   0.4   $261.20
11/21/2021   CPS     Judicial Review   Revise Law Memo                                         $653.00   0.8   $522.40
                                       Revising memo: adding embedded link leads
11/22/2021   HM      Judicial Review                                                           $200.00   0.8   $160.00
                                       arguments to section 6c
                                       Revising memo: adding embedded link leads
11/22/2021   HM      Judicial Review                                                           $200.00   0.7   $140.00
                                       argument to section 6c

11/22/2021   HM      Judicial Review   Final read through of memo: section 6 down              $200.00   1.3   $260.00

                                       Finalizing Statement of Facts, Plaintiff's Opp, Decl,
11/22/2021   HM      Judicial Review                                                           $200.00   0.9   $180.00
                                       Plaintiff CMSJ, Proposed Order, Exhibits
                                       Final read through of memo: From start down to
11/22/2021   HM      Judicial Review   section 6; final word doc spell check; convert to       $200.00   1.2   $240.00
                                       PDF and upload to docs ready to file
11/22/2021   CPS     Judicial Review   Final review of all docs for filing tomorrow            $653.00   0.7   $457.10
                                       Email client re: procedure for mailing wet-signed
11/22/2021   CPS     Judicial Review                                                           $653.00   0.1    $65.30
                                       Decl

11/23/2021   KL      Judicial Review   HM: filing of P's Opp and P's XMSJ                      $200.00   0.6   $120.00
                                       HM: downloading and emailing the court stamped
11/23/2021   KL      Judicial Review                                                           $200.00   0.3    $60.00
                                       docs from the filing
                                       Very final read through and edits of main
11/23/2021   HM      Judicial Review                                                           $200.00   1.5   $300.00
                                       arguments
                                       Filing P's opp to D's MSJ; Filing P's CMSJ; and all
11/23/2021   HM      Judicial Review   17 Exhibits                                             $200.00   1.0   $200.00

11/23/2021   CPS     Judicial Review   TCF Ms Naumes re: confirmation of date of Decl          $653.00   0.1    $65.30
11/23/2021   CPS     Judicial Review   Supervise filing of Opp and Cross-Motion                $653.00   0.6   $391.80
11/23/2021   CPS     Judicial Review   Email client on next steps                              $653.00   0.2   $130.60
                                       Download docs from the court and email them to
12/21/2021   HM      Judicial Review                                                           $200.00   0.3    $60.00
                                       team

12/23/2021   CPS     Judicial Review   TC Sarah Naumes re: planning for Reply                  $653.00   0.2   $130.60
12/28/2021   HM      Judicial Review   Read emails                                             $200.00   0.2    $40.00
12/28/2021   CPS     Judicial Review   Review draft 1 of Reply                                 $653.00   0.3   $195.90
01/01/2022   CPS     Judicial Review   Read D's Opp to P's XMSJ                                $684.00   0.5   $342.00
01/02/2022   CPS     Judicial Review   TC Marc Kardell re: analysis of D's Opp                 $684.00   1.0   $684.00

                                       Reading emails and searching for doc helpful to
01/03/2022   HM      Judicial Review                                                           $207.00   0.5   $103.50
                                       case: case number 18-2031
01/03/2022   CPS     Judicial Review   Draft outline for P's Reply                             $684.00   0.5   $342.00
                                       Conference call w/ client and Mr Kardell re: drafting
01/04/2022   CPS     Judicial Review                                                           $684.00   0.7   $478.80
                                       P's Reply
01/04/2022   CPS     Judicial Review   Draft declaratory judgment issue in Reply               $684.00   0.4   $273.60

01/04/2022   CPS     Judicial Review   Draft introductory section of Reply Memo                $684.00   0.8   $547.20

01/04/2022   CPS     Judicial Review   Legal research on remedy portion of Reply Brief         $684.00   0.7   $478.80
                                       Reading case emails, and read and edited draft
01/05/2022   KL      Judicial Review                                                           $207.00   0.5   $103.50
                                       Reply
                                       Edit the Reply and create Dropbox folders and put
01/05/2022   HM      Judicial Review   links in the Master List, find the Army's docs          $207.00   1.0   $207.00
                                       through the docket
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01/05/2022   CPS     Judicial Review   Draft Reply Memo                                      $684.00   0.5    $342.00
01/05/2022   CPS     Judicial Review   Draft Reply Memo, remedy section                      $684.00   2.1   $1,436.40
01/05/2022   CPS     Judicial Review   Draft Reply Memo on search deficiencies               $684.00   1.1    $752.40

01/06/2022   HM      Judicial Review   Read emails and emailing team                         $207.00   0.8    $165.60

01/07/2022   CPS     Judicial Review   Draft Search Inadequacy in Reply Memo                 $684.00   1.2    $820.80

01/07/2022   CPS     Judicial Review   Draft remedy section of Reply Memo                    $684.00   0.5    $342.00
                                       Discuss status of P's Reply and what is needed re:
01/08/2022   KL      Judicial Review                                                         $207.00   0.2     $41.40
                                       citation research and editing
                                       Researching, inserting and editing citations in P's
01/08/2022   KL      Judicial Review                                                         $207.00   0.6    $124.20
                                       Reply
01/08/2022   CPS     Judicial Review   Revise remedy section of Reply Memo                   $684.00   0.9    $615.60
01/08/2022   CPS     Judicial Review   Draft search section of Memo (D1)                     $684.00   1.0    $684.00
01/08/2022   CPS     Judicial Review   Draft section D2 of Reply Memo                        $684.00   1.1    $752.40

01/08/2022   CPS     Judicial Review   Draft section D3 of Reply Memo                        $684.00   0.5    $342.00

01/08/2022   CPS     Judicial Review   Draft section D4 of Reply Memo                        $684.00   1.0    $684.00

                                       Researching, inserting, and editing document
01/09/2022   KL      Judicial Review                                                         $207.00   2.4    $496.80
                                       numbers and citations in P's Reply
                                       Review and improve "Fact Summary" portion of
01/09/2022   CPS     Judicial Review                                                         $684.00   1.2    $820.80
                                       Reply Memo
01/09/2022   CPS     Judicial Review   Review and edit Reply Memo                            $684.00   1.3    $889.20
01/10/2022   HM      Judicial Review   Editing Reply Memo; fixing case names                 $207.00   1.0    $207.00
01/10/2022   CPS     Judicial Review   TC Mr Kardell re: Reply Memo structure                $684.00   0.3    $205.20

01/10/2022   CPS     Judicial Review   Revise Reply                                          $684.00   0.8    $547.20
01/10/2022   CPS     Judicial Review   Revise Reply Memo                                     $684.00   1.6   $1,094.40
01/11/2022   KL      Judicial Review   Reading case-related emails about Reply Memo          $207.00   0.1     $20.70
01/11/2022   CPS     Judicial Review   Revise Reply Memo                                     $684.00   0.7    $478.80
01/11/2022   CPS     Judicial Review   Revise Reply Memo                                     $684.00   1.6   $1,094.40

                                       Edited citations and document numbers in Reply as
01/12/2022   KL      Judicial Review                                                         $207.00   0.5    $103.50
                                       assigned by CPS

             HM                        Converting Reply into Word doc, editing formatting
01/12/2022           Judicial Review                                                         $207.00   1.3    $269.10
                                       in doc
                                       Editing more of the Reply: missing Mr Kardell's
01/12/2022   HM      Judicial Review                                                         $207.00   0.5    $103.50
                                       argument
01/12/2022   CPS     Judicial Review   Revise and polish Reply Memo                          $684.00   1.1    $752.40
01/12/2022   CPS     Judicial Review   Revise and polish Reply Memo                          $684.00   0.7    $478.80
                                       TC Sarah Naumes re: improvements to factual
01/12/2022   CPS     Judicial Review                                                         $684.00   0.1     $68.40
                                       elements of Reply

01/12/2022   CPS     Judicial Review   Revise and polish Reply                               $684.00   0.7    $478.80
01/13/2022   KL      Judicial Review   Editing Reply                                         $207.00   1.5    $310.50
01/13/2022   HM      Judicial Review   Reading emails and printing out edits                 $207.00   1.3    $269.10
                                       Meet with Haley Mendez, legal assistant, to go over
01/13/2022   KL      Judicial Review                                                         $207.00   0.2     $41.40
                                       additional edits needed on Reply
01/13/2022   HM      Judicial Review   Editing Law Memo, multiple drafts                     $207.00   4.0    $828.00

01/13/2022   CPS     Judicial Review   Revise and polish Reply                               $684.00   0.2    $136.80
01/13/2022   CPS     Judicial Review   TC Marc Kardell                                       $684.00   0.1     $68.40
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01/13/2022   CPS   Judicial Review   TC Haley Mendez                                      $684.00   0.1     $68.40

01/13/2022   CPS   Judicial Review   Revise and polish Reply                              $684.00   1.9   $1,299.60
01/13/2022   CPS   Judicial Review   TC Marc Kardell                                      $684.00   0.1     $68.40
01/13/2022   CPS   Judicial Review   Review and polish Memo                               $684.00   0.4    $273.60
01/13/2022   CPS   Judicial Review   Revise and polish Reply                              $684.00   0.6    $410.40
01/13/2022   CPS   Judicial Review   Revise and polish Reply                              $684.00   0.2    $136.80

01/14/2022   HM    Judicial Review   Filing and sending out the filed doc to the team     $207.00   0.6    $124.20
                                     Reading emails and making final edits to Reply
01/14/2022   HM    Judicial Review                                                        $207.00   2.4    $496.80
                                     Memo

01/14/2022   HM    Judicial Review   Reading emails                                       $207.00   0.5    $103.50

01/14/2022   CPS   Judicial Review   Review and polish Reply                              $684.00   1.7   $1,162.80

01/14/2022   CPS   Judicial Review   Review and polish Reply                              $684.00   1.3    $889.20
01/14/2022   CPS   Judicial Review   Supervise filing Reply                               $684.00   0.2    $136.80
01/31/2022   HM    Judicial Review   File papers                                          $207.00   0.1     $20.70
                                     Reading emails, downloading Judge's Order and
02/28/2022   HM    Judicial Review   Opinion, creating file in Dropbox, and emailing to   $207.00   0.2     $41.40
                                     team
02/28/2022   CPS   Judicial Review   Read Court Order                                     $684.00   0.3    $205.20
02/28/2022   CPS   Judicial Review   TC Marc Kardell re: Court Order on XMSJ              $684.00   0.2    $136.80

02/28/2022   CPS   Judicial Review   TC client re: explaining Court Order to client       $684.00   0.2    $136.80
                                     TC Marc Kardell re: planning for Army Motion to
03/02/2022   CPS   Judicial Review                                                        $684.00   0.1     $68.40
                                     Delay
                                     Read email from AUSA and email client on possible
03/12/2022   CPS   Judicial Review                                                        $684.00   0.2    $136.80
                                     further response
                                     Read AUSA Haberland's email on why government
03/13/2022   CPS   Judicial Review                                                        $684.00   0.1     $68.40
                                     wants appeal stay
                                     Email AUSA Haberland re: P's position on stay and
03/13/2022   CPS   Judicial Review                                                        $684.00   0.2    $136.80
                                     asking info on records

                                     Confer w/ client re: response to AUSA on 60 day
03/13/2022   CPS   Judicial Review                                                        $684.00   0.2    $136.80
                                     delay
                                     Email AUSA re: P's position on D's 60 day stay
03/13/2022   CPS   Judicial Review                                                        $684.00   0.2    $136.80
                                     proposal
03/13/2022   CPS   Judicial Review   Email client re: Dr Park                             $684.00   0.1     $68.40
                                     TCF AUSA Haberland re: D filing Motion for Stay
03/14/2022   CPS   Judicial Review                                                        $684.00   0.1     $68.40
                                     today
03/14/2022   CPS   Judicial Review   Email client updating her on conversation w/ AUSA    $684.00   0.2    $136.80
03/15/2022   CPS   Judicial Review   Review "spreadsheet" from Defendant                  $684.00   0.2    $136.80

                                     Reading emails and downloading/filing D's filed
                                     docs: Notice of Appearance (Doc 17),
03/16/2022   HM    Judicial Review                                                        $207.00   0.9    $186.30
                                     Supplemental Memo (Doc 18), Motion to Stay (Doc
                                     19), emailing docs to team and to client
03/16/2022   CPS   Judicial Review   Read D's Motion for Stay                             $684.00   0.4    $273.60
03/18/2022   CPS   Judicial Review   Read D's Withdrawal of Motion                        $684.00   0.2    $136.80
03/18/2022   CPS   Judicial Review   Email AUSA Haberland re: status of release           $684.00   0.2    $136.80
03/18/2022   CPS   Judicial Review   Email client are records thorough?                   $684.00   0.1     $68.40

03/18/2022   CPS   Judicial Review   Review D's Supp Memo                                 $684.00   0.1     $68.40
                                     Read and respond to client re: analysis of Army
03/20/2022   CPS   Judicial Review                                                        $684.00   0.2    $136.80
                                     response to Court Order
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                                     Reading emails, downloading docs from DCD,
03/21/2022   HM    Judicial Review                                                         $207.00   0.9    $186.30
                                     emailing to team
                                     TC AUSA Haberland re: compliance w/ Court
03/21/2022   CPS   Judicial Review                                                         $684.00   0.1     $68.40
                                     Order
03/21/2022   CPS   Judicial Review   Email AUSA w/ info on client email                    $684.00   0.1     $68.40

                                     TC client re: getting ready for court ordered
03/21/2022   CPS   Judicial Review                                                         $684.00   0.5    $342.00
                                     response
03/25/2022   CPS   Judicial Review   Outline P's Reply                                     $684.00   0.4    $273.60

03/27/2022   CPS   Judicial Review   Draft Objection                                       $684.00   1.9   $1,299.60
03/28/2022   CPS   Judicial Review   Revise Objection                                      $684.00   0.4    $273.60
03/28/2022   CPS   Judicial Review   Revise Objection                                      $684.00   0.2    $136.80
03/29/2022   CPS   Judicial Review   Revise Objection Law Memo                             $684.00   0.8    $547.20
                                     Creating/editing Objection google doc and editing
03/30/2022   HM    Judicial Review   Master list, sending google links to the team, and    $207.00   0.8    $165.60
                                     reading emails

03/31/2022   CPS   Judicial Review   Email client on need for Decl                         $684.00   0.2    $136.80
                                     Reading emails, editing Master list, Objection, and
04/01/2022   HM    Judicial Review                                                         $207.00   0.7    $144.90
                                     Ms Naumes' 2nd Decl
04/01/2022   CPS   Judicial Review   TC Marc Kardell re: Objection draft                   $684.00   0.1     $68.40
04/02/2022   CPS   Judicial Review   Revise Objection Memo                                 $684.00   0.9    $615.60
04/03/2022   CPS   Judicial Review   Revise Objection                                      $684.00   1.1    $752.40

04/03/2022   CPS   Judicial Review   Revise Objection                                      $684.00   1.0    $684.00
                                     Reading emails, editing/converting Objection and
                                     Second Decl to Word and Pdf, email to team, FILE
04/04/2022   HM    Judicial Review                                                         $207.00   0.8    $165.60
                                     Objection, downloading filed docs to Dropbox,
                                     emailing filed docs to team
04/04/2022   CPS   Judicial Review   Final review of dox                                   $684.00   0.2    $136.80
04/04/2022   CPS   Judicial Review   Oversee filing of Objection                           $684.00   0.1     $68.40
04/11/2022   CPS   Judicial Review   Read Court Order                                      $684.00   0.2    $136.80
04/12/2022   HM    Judicial Review   Reading emails                                        $207.00   0.1     $20.70

04/12/2022   CPS   Judicial Review   Email Mr. Kardell re: proposed letter to AUSA         $684.00   0.1     $68.40
                                     Draft email to AUSA Haberland re: info to copy-
04/14/2022   CPS   Judicial Review                                                         $684.00   0.2    $136.80
                                     write holders
04/14/2022   CPS   Judicial Review   Modify and send email to AUSA Haberland               $684.00   0.2    $136.80
                                     Read email from AUSA Haberland re: Dr Park's
04/15/2022   CPS   Judicial Review                                                         $684.00   0.1     $68.40
                                     alleged copyright
04/18/2022   HM    Judicial Review   Read emails                                           $207.00   0.1     $20.70

                                     Email client re: possible letter to AUSA Haberland
04/19/2022   CPS   Judicial Review                                                         $684.00   0.1     $68.40
                                     on release of dox
                                     Email client re: possible new letter to AUSA
04/19/2022   CPS   Judicial Review                                                         $684.00   0.1     $68.40
                                     Haberland
04/28/2022   CPS   Judicial Review   Read and analyze email from AUSA Haberland            $684.00   0.2    $136.80
04/29/2022   HM    Judicial Review   Scan/download/file Sarah 2nd Decl, email to Pete      $207.00   0.1     $20.70
                                     Email client requesting input on response due 5-11-
04/30/2022   CPS   Judicial Review                                                         $684.00   0.2    $136.80
                                     22

05/02/2022   CPS   Judicial Review   Read email from AUSA Haberland                        $684.00   0.1     $68.40
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                                     TC Sarah Naumes re: responding to Dr Park's
05/02/2022   CPS   Judicial Review                                                           $684.00   0.1    $68.40
                                     concerns

05/02/2022   CPS   Judicial Review   TC AUSA Haberland re: D's report due 5-11-22            $684.00   0.1    $68.40
05/02/2022   CPS   Judicial Review   TC client re: writing Dr Park                           $684.00   0.3   $205.20
05/02/2022   CPS   Judicial Review   TC Marc Kardell re: response to Army                    $684.00   0.2   $136.80
                                     TC client and Mr Kardell re: option to draft email to
05/03/2022   CPS   Judicial Review   AUSA Haberland re: D's upcoming report                  $684.00   0.4   $273.60

                                     Revise and edit email to AUSA Haberland w/info
05/03/2022   CPS   Judicial Review                                                           $684.00   0.3   $205.20
                                     helpful to Def. re: upcoming D's report to Court
05/03/2022   CPS   Judicial Review   Review draft email to AUSA Haberland                    $684.00   0.1    $68.40

                                     Email Mr Kardell re: application of Humane Society
05/06/2022   CPS   Judicial Review                                                           $684.00   0.1    $68.40
                                     decision to our case

05/11/2022   CPS   Judicial Review   Read email from Ms Naumes to Dr Park                    $684.00   0.2   $136.80

05/16/2022   CPS   Judicial Review   Read email from AUSA Haberland                          $684.00   0.2   $136.80

05/17/2022   CPS   Judicial Review   Draft proposed email to AUSA Haberland                  $684.00   0.3   $205.20
05/21/2022   CPS   Judicial Review   TC Mark Kardell re: intervention cases                  $684.00   0.1    $68.40
05/21/2022   CPS   Judicial Review   Email to AUSA Haberland with intervention cases         $684.00   0.3   $205.20
                                     Email to Mr. Kardell and client re: planning for 6-
05/25/2022   CPS   Judicial Review                                                           $684.00   0.2   $136.80
                                     10-2022 JSR
                                     Confer with client and Mr. Kardell re: JSR coming
05/31/2022   CPS   Judicial Review                                                           $684.00   0.3   $205.20
                                     up 6-10-22

                                     Email AUSA Haberland requesting D's proposal
05/31/2022   CPS   Judicial Review                                                           $684.00   0.1    $68.40
                                     JSR
06/06/2022   CPS   Judicial Review   Read email from AUSA Haberland                          $684.00   0.1    $68.40
06/06/2022   CPS   Judicial Review   Email to AUSA Haberland re: JSR due 6-10-22             $684.00   0.2   $136.80
                                     Edit JSR incorporating comments of Mr. Sorenson
06/07/2022   AS    Judicial Review                                                           $207.00   0.9   $186.30
                                     and Mr. Kardell
06/07/2022   CPS   Judicial Review   TCF AUSA Haberland re: JSR due 6-10-2022                $684.00   0.1    $68.40
06/07/2022   CPS   Judicial Review   Email to client                                         $684.00   0.1    $68.40

06/07/2022   CPS   Judicial Review   TCF client re: JSR options for 6-10-2022 JSR            $684.00   0.3   $205.20
06/07/2022   CPS   Judicial Review   Revise JSR due 6-10-2022                                $684.00   0.9   $615.60
06/07/2022   CPS   Judicial Review   Read email from client re: OK to send JSR               $684.00   0.1    $68.40
                                     Email to AUSA Haberland re: tentative approval on
06/07/2022   CPS   Judicial Review                                                           $684.00   0.1    $68.40
                                     JSR
06/08/2022   CPS   Judicial Review   Email from client, email to client re: JSR              $684.00   0.1    $68.40

                                     Read emails between client/Mr Kardell/CPS/court,
                                     download/file status report 5-10-22, email to
06/09/2022   HM    Judicial Review                                                           $207.00   1.3   $269.10
                                     team/client, email CPS re: Mr Kardell time,
                                     organize Dropbox file
06/09/2022   CPS   Judicial Review   TC AUSA Haberland re: JSR due 6-10-2022                 $684.00   0.3   $205.20
06/09/2022   CPS   Judicial Review   Review DOJ proposed JSR                                 $684.00   0.2   $136.80
                                     Download/file JSR in Dropbox, email client/CPS
                                     docs/Minute Order/deadlines, put Minute
06/10/2022   HM    Judicial Review                                                           $207.00   0.5   $103.50
                                     Order/deadlines on Case List doc, email Jo to put
                                     dates on office calendar
06/10/2022   CPS   Judicial Review   Read Court Order, dated 6-10-22                         $684.00   0.1    $68.40
06/15/2022   CPS   Judicial Review   Review case status, plan for P's Reply                  $684.00   0.5   $342.00

07/07/2022   HM    Judicial Review   Read and respond to Pete's email re: Marc's time        $207.00   0.2    $41.40
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                                     Entering/compiling Marc Kardell's time records in a
07/08/2022   HM    Judicial Review                                                         $207.00   1.2   $248.40
                                     table in Word doc
08/05/2022   AS    Judicial Review   Email communication regarding Reply                   $207.00   0.5   $103.50
08/05/2022   CPS   Judicial Review   Review D's MSJ                                        $684.00   0.2   $136.80

08/05/2022   CPS   Judicial Review   Review D's MSJ materials                              $684.00   0.3   $205.20
08/06/2022   CPS   Judicial Review   TC client re: next steps on preparing for Reply       $684.00   0.2   $136.80
08/11/2022   CPS   Judicial Review   TC Mr Kardell re: plan for Opp                        $684.00   0.1    $68.40
08/14/2022   CPS   Judicial Review   Outline of P's Opp                                    $684.00   0.3   $205.20
08/14/2022   CPS   Judicial Review   Draft Declaration for Sarah Naumes                    $684.00   0.5   $342.00

                                     Phone conference with client and Mr. Kardell on
08/15/2022   CPS   Judicial Review                                                         $684.00   0.6   $410.40
                                     need for Declaration

08/18/2022                           Read email from Dr Murray, politics chair, York
             CPS   Judicial Review                                                         $684.00   0.2   $136.80
                                     University
                                     Read email about client w/ COVID, email client re:
08/18/2022   CPS   Judicial Review                                                         $684.00   0.2   $136.80
                                     MOET?
08/18/2022   CPS   Judicial Review   TC Thomas Albertson re: work on case                  $684.00   0.2   $136.80
08/18/2022   HM    Judicial Review   TA: TC CPS                                            $207.00   0.3    $62.10
                                     Set up Dropbox for P's Opp, set up
08/19/2022   HM    Judicial Review   Dropbox/Google Docs (Master list and 6 other          $207.00   0.8   $165.60
                                     docs), email team the links

08/20/2022   CPS   Judicial Review   Review draft Opp                                      $684.00   0.3   $205.20

                                     TA: Review dropbox case file, TC Marc, reading
08/20/2022   HM    Judicial Review   copyright law for Ms Naumes, review Memos and         $207.00   1.9   $393.30
                                     emails, citing statutes for Ms Naumes

08/20/2022   HM    Judicial Review   TA: reviewing case emails, citing case in dox         $207.00   1.0   $207.00
08/21/2022   HM    Judicial Review   TA: TC Marc Kardell                                   $207.00   0.2    $41.40

08/22/2022   HM    Judicial Review   TA: TC Marc Kardell                                   $207.00   1.0   $207.00

08/23/2022                           Conferring with counsel and then drafting MOET
             KL    Judicial Review                                                         $207.00   0.8   $165.60
                                     and proposed Order

                                     Editing and then creating PDF of final version of
08/23/2022   KL    Judicial Review                                                         $207.00   0.3    $62.10
                                     MOET

08/23/2022   AS    Judicial Review   Phone communication regarding scheduling              $207.00   0.4    $82.80
08/23/2022   CPS   Judicial Review   TC Marc Kardell                                       $684.00   0.2   $136.80

08/23/2022   CPS   Judicial Review   Email Ms Rainbow, legal counsel York University       $684.00   0.2   $136.80

08/23/2022   CPS   Judicial Review   Email AUSA Haberland re: MOET                         $684.00   0.2   $136.80
08/23/2022   CPS   Judicial Review   Draft MOET                                            $684.00   0.2   $136.80

08/23/2022   CPS   Judicial Review   Draft Proposed Order                                  $684.00   0.2   $136.80

                                     Email client re: preparation for meeting w/ York
08/23/2022   CPS   Judicial Review                                                         $684.00   0.2   $136.80
                                     counsel

08/23/2022   CPS   Judicial Review   Revise MOET                                           $684.00   0.2   $136.80
08/23/2022   CPS   Judicial Review   Supervise filing of MOET                              $684.00   0.2   $136.80

08/23/2022   CPS   Judicial Review   TCF client re: Decl from York University              $684.00   0.3   $205.20
                                     TA: setting up research for Ms Naumes, setting up
08/23/2022   HM    Judicial Review   Memo pursuant to TC Marc Kardell, editing Memo,       $207.00   1.6   $331.20
                                     read case emails, review case notes

08/24/2022   CPS   Judicial Review   Read Court's Reset Order                              $684.00   0.1    $68.40
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08/24/2022   CPS   Judicial Review   Email Marc Kardell on division of labor               $684.00   0.2   $136.80
                                     Email Thomas Albertson, law clerk, requesting draft
08/26/2022   CPS   Judicial Review                                                         $684.00   0.1    $68.40
                                     Opp
08/26/2022   HM    Judicial Review   TA: read case emails, TC Marc Kardell                 $207.00   0.7   $144.90

                                     TC client re: meeting w/ York U counsel re: Decl
08/27/2022   CPS   Judicial Review                                                         $684.00   0.2   $136.80
                                     from York

08/27/2022   HM    Judicial Review   TA: read case emails, read Memos                      $207.00   1.3   $269.10

08/27/2022   HM    Judicial Review   TA: read and edit first Memo, read Opinion            $207.00   1.0   $207.00

08/28/2022   CPS   Judicial Review   Revise Decl and email Ms Rainbow                      $684.00   0.2   $136.80

08/29/2022   CPS   Judicial Review   TC Ms Rainbow, counsel for York University            $684.00   0.5   $342.00
08/30/2022   CPS   Judicial Review   Review Kardell draft Reply                            $684.00   0.4   $273.60

08/31/2022   CPS   Judicial Review   Review case file                                      $684.00   0.1    $68.40
08/31/2022   CPS   Judicial Review   Email Marc Kardell re: prep for Reply                 $684.00   0.2   $136.80

08/31/2022   CPS   Judicial Review   Email law clerk on need for 1 draft doc               $684.00   0.2   $136.80

09/01/2022   CPS   Judicial Review   Review file to determine next steps on Reply          $684.00   0.2   $136.80
09/01/2022   HM    Judicial Review   TA: draft and edit Memo                               $207.00   2.3   $476.10

                                     Drafting Memorandum In Opposition To
                                     Defendant’s Renewed Motion For Summary
09/05/2022   AS    Judicial Review                                                         $207.00   2.3   $476.10
                                     Judgment And In Support Of Plaintiff’s Motion For
                                     Summary Judgment

                                     Read emails between client and team, read court
                                     emails, download/file P's MOET 8-23-22 in
09/06/2022   HM    Judicial Review   Dropbox, add new dates to calendar, update Case       $207.00   1.1   $227.70
                                     List doc, organize Dropbox case file, add Ms
                                     Naumes to google docs to edit
                                     Drafting Memorandum In Opposition To
                                     Defendant’s Renewed Motion For Summary                          2.5
09/07/2022   AS    Judicial Review                                                         $207.00         $517.50
                                     Judgment And In Support Of Plaintiff’s Motion For
                                     Summary Judgment

09/07/2022   CPS   Judicial Review   Review D's Motion in prep for P's Opp                 $684.00   0.5   $342.00

                                     Drafting Memorandum In Opposition To
                                     Defendant’s Renewed Motion For Summary
09/09/2022   AS    Judicial Review                                                         $207.00   2.2   $455.40
                                     Judgment And In Support Of Plaintiff’s Motion For
                                     Summary Judgment

09/11/2022   CPS   Judicial Review   TC Ms Naumes re: obtaining Decl                       $684.00   0.3   $205.20

09/12/2022   CPS   Judicial Review   Email client re: Vanderbilt professor as Declarant    $684.00   0.2   $136.80
09/12/2022   CPS   Judicial Review   Review Reply Memo                                     $684.00   0.3   $205.20

09/12/2022   CPS   Judicial Review   Read email from client re: Dr MacLeish re: his Decl   $684.00   0.2   $136.80

09/14/2022   CPS   Judicial Review   Email Dr MacLeish re: Decl in support of P's Opp      $684.00   0.3   $205.20

09/14/2022   CPS   Judicial Review   TC client re: her new Decl and Dr MacLeish Decl       $684.00   0.3   $205.20

09/15/2022   CPS   Judicial Review   Review Martin Decl                                    $684.00   0.5   $342.00
                                     Drafting Memorandum In Opposition To
                                     Defendant’s Renewed Motion For Summary
09/15/2022   AS    Judicial Review                                                         $207.00   3.6   $745.20
                                     Judgment And In Support Of Plaintiff’s Motion For
                                     Summary Judgment
                                     Drafting Memorandum In Opposition To
                                     Defendant’s Renewed Motion For Summary
09/16/2022   AS    Judicial Review                                                         $207.00   2.7   $558.90
                                     Judgment And In Support Of Plaintiff’s Motion For
                                     Summary Judgment
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                                     Drafting / Editing / legal research Exemption 4
                                     section of Memorandum In Opposition To
09/17/2022   AS    Judicial Review   Defendant’s Renewed Motion For Summary                  $207.00   1.8   $372.60
                                     Judgment And In Support Of Plaintiff’s Motion For
                                     Summary Judgment
                                     Drafting / Editing Argument section of
                                     Memorandum In Opposition To Defendant’s
09/19/2022   AS    Judicial Review   Renewed Motion For Summary Judgment And In              $207.00   1.2   $248.40
                                     Support Of Plaintiff’s Motion For Summary
                                     Judgment

09/19/2022   CPS   Judicial Review   TC client re: 2nd academic declarant                    $684.00   0.1    $68.40

09/19/2022   CPS   Judicial Review   Email client following up on new declarant              $684.00   0.1    $68.40
                                     Drafting Brief Summary Of The Facts And Status
                                     Of The Case section of Memorandum In
09/20/2022   AS    Judicial Review   Opposition To Defendant’s Renewed Motion For            $207.00   2.5   $517.50
                                     Summary Judgment And In Support Of Plaintiff’s
                                     Motion For Summary Judgment

09/20/2022   CPS   Judicial Review   TCF client re: MacLeish Decl                            $684.00   0.1    $68.40
                                     Read emails between client, CPS, and declarant,
09/21/2022   HM    Judicial Review                                                           $207.00   0.3    $62.10
                                     download/file York Decl to Dropbox case file
                                     Read email from client, add her as editor, email her
09/21/2022   HM    Judicial Review                                                           $207.00   0.1    $20.70
                                     links to the docs

                                     Drafting Intro section to Memorandum In
                                     Opposition To Defendant’s Renewed Motion For
09/21/2022   AS    Judicial Review                                                           $207.00   2.4   $496.80
                                     Summary Judgment And In Support Of Plaintiff’s
                                     Motion For Summary Judgment

09/21/2022   CPS   Judicial Review   Review MacLeish Decl ideas                              $684.00   0.2   $136.80
09/22/2022   CPS   Judicial Review   Email AUSA Haberland re: new JSR                        $684.00   0.2   $136.80

                                     Phone communication, Declaration analysis, legal
09/23/2022   AS    Judicial Review                                                           $207.00   2.2   $455.40
                                     research, drafting Declaration

                                     Read email between D and CPS, enter and edit
09/23/2022   HM    Judicial Review   Marc Kardell's time entries (all 2021-5/4/22) into      $207.00   1.6   $331.20
                                     Word doc
09/23/2022   CPS   Judicial Review   Review Army's proposed JSR                              $684.00   0.1    $68.40

09/23/2022   CPS   Judicial Review   TC Dr Ken MacLeish, expert/declarant                    $684.00   1.1   $752.40

                                     Read email about possible declarant, Dr David
09/23/2022   CPS   Judicial Review                                                           $684.00   0.2   $136.80
                                     Kieran

09/24/2022   CPS   Judicial Review   Email AUSA Haberland re: P approves JSR                 $684.00   0.1    $68.40

                                     TCF client re: previous release of records to the
09/26/2022   CPS   Judicial Review                                                           $684.00   0.4   $273.60
                                     public

                                     Drafting/adding case law/shepardizing case
09/27/2022   AS    Judicial Review   law/editing section 1. The facts in this case are not   $207.00   3.7   $765.90
                                     ripe for analysis under Exemption 4, of Opp
09/27/2022   CPS   Judicial Review   Legal research on "agency records"                      $684.00   0.4   $273.60

                                     Read court emails, read email from client, read and
                                     respond to email from CPS, download/file Joint
                                     Motion to Extend RS Deadline 9-28-22 in Dropbox
09/28/2022   HM    Judicial Review   case file, email CPS docs to send to client, add        $207.00   0.3    $62.10
                                     next JSR date to calendar, put Minute Order on
                                     Case List doc, add google doc links to Master List
                                     doc
                                     Drafting/adding case law/shepardizing case
                                     law/editing section 3. Dr. Park’s claim of
09/28/2022   AS    Judicial Review                                                           $207.00   2.4   $496.80
                                     “irreparable” economic damage was conclusory
                                     and speculative. of Opp
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09/28/2022   CPS   Judicial Review   Approve JSR on Motion                                    $684.00   0.1    $68.40

09/28/2022   CPS   Judicial Review   Email client on JSR post briefing                        $684.00   0.1    $68.40
                                     Drafting/editing/adding case law/shepardizing case
09/29/2022   AS    Judicial Review   law section 2. Under FOIA Exemption 4, the Army’s        $207.00   2.1   $434.70
                                     GAT test is not commercial of Opp

                                     Email communication concerning Declarations,
10/01/2022   AS    Judicial Review                                                            $207.00   0.7   $144.90
                                     review Declarations

10/01/2022   CPS   Judicial Review   Edit Naumes 3rd Decl                                     $684.00   0.7   $478.80
10/01/2022   CPS   Judicial Review   Edit MacLeish Decl                                       $684.00   0.4   $273.60

10/01/2022   CPS   Judicial Review   Email client, Dr MacLeish and Dr Kieran                  $684.00   0.2   $136.80

10/01/2022   CPS   Judicial Review   Review MacLeish Decl                                     $684.00   0.2   $136.80
10/01/2022   CPS   Judicial Review   TC Sarah Naumes re: 3rd Decl                             $684.00   0.1    $68.40

10/01/2022   CPS   Judicial Review   Review and edit MacLeish Decl                            $684.00   0.4   $273.60
10/03/2022   CPS   Judicial Review   Review MacLeish Decl                                     $684.00   0.2   $136.80

                                     Review draft Opp Memo on issue of previous
10/03/2022   CPS   Judicial Review                                                            $684.00   0.3   $205.20
                                     opinion of court

10/03/2022   CPS   Judicial Review   Email client re: page length of Memo                     $684.00   0.2   $136.80

                                     TC Pete, print out 4 Decl's, TC Alex, read emails
10/04/2022   HM    Judicial Review                                                            $207.00   2.2   $455.40
                                     from CPS, draft citations for all 4 Decl's

                                     Drafting/editing/adding case law/shepardizing case
10/04/2022   AS    Judicial Review   law to 4. Defendant failed to prove a violation of the   $207.00   2.2   $455.40
                                     Copyright law, of Opp
10/04/2022   CPS   Judicial Review   Review Martin Decl                                       $684.00   0.7   $478.80

10/04/2022   CPS   Judicial Review   Review Kieran Decl                                       $684.00   0.5   $342.00
10/04/2022   CPS   Judicial Review   Review MacLeish Decl                                     $684.00   0.3   $205.20

10/04/2022   CPS   Judicial Review   Review Naumes Decl                                       $684.00   0.4   $273.60

10/04/2022   CPS   Judicial Review   Email Dr MacLeish and Dr Kieran re: Decl protocol        $684.00   0.3   $205.20
10/04/2022   CPS   Judicial Review   Review Reply Memo                                        $684.00   0.2   $136.80

                                     Adding Declaration of Dr. Kenneth Thomas
10/05/2022   AS    Judicial Review   MacLeish to Memo, and correlating case law,              $207.00   1.6   $331.20
                                     analysis, rebuttal to Defendant

                                     Adding Declaration of Dr. David Kieran to Memo,
10/05/2022   AS    Judicial Review   and correlating case law, analysis, rebuttal to          $207.00   1.1   $227.70
                                     Defendant

10/06/2022   CPS   Judicial Review   TJA: Case law research                                   $207.00   0.9   $186.30

10/06/2022   CPS   Judicial Review   TCF Dr MacLeish, declarant re: his Decl                  $684.00   0.3   $205.20
10/06/2022   CPS   Judicial Review   TCF client re: Kieran Decl                               $684.00   0.1    $68.40

                                     Read emails between client and CPS,
                                     download/file 2 Decl's to Dropbox case file, make a
10/07/2022   HM    Judicial Review                                                            $207.00   0.6   $124.20
                                     template of email for declarant's re: signing and
                                     dating final version of Decl, draft Proposed Order

                                     Adding Declaration of Dr. Aryn Elizabeth Martin
                                     and of Ms. Sarah Naumes to Memo, and
10/07/2022   AS    Judicial Review                                                            $207.00   3.7   $765.90
                                     correlating case law, analysis, rebuttal to
                                     Defendant

10/07/2022   CPS   Judicial Review   TJA: case law research                                   $207.00   1.0   $207.00

10/07/2022   CPS   Judicial Review   TJA: case law research                                   $207.00   0.9   $186.30
10/08/2022   CPS   Judicial Review   TJA: case law research                                   $207.00   2.9   $600.30
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10/08/2022   CPS   Judicial Review   TJA: case law research                                $207.00   1.1   $227.70

10/08/2022   CPS   Judicial Review   TJA: editing citations                                $207.00   1.0   $207.00

10/08/2022   CPS   Judicial Review   TJA: editing citations                                $207.00   0.5   $103.50

                                     BAJ: assist in editing Opp Memo for clarity and
10/09/2022   KL    Judicial Review                                                         $207.00   0.9   $186.30
                                     consistency

                                     BAJ: research fair use, harm to original, and
10/09/2022   KL    Judicial Review                                                         $207.00   0.6   $124.20
                                     academic research

10/09/2022   KL    Judicial Review   BAJ: assist in editing Memo                           $207.00   0.5   $103.50

10/09/2022   CPS   Judicial Review   TJA: editing citations                                $207.00   0.3    $62.10
                                     Read emails from client and CPS, TC CPS, create
                                     final exhibits with cover pages, download/file
10/10/2022   HM    Judicial Review                                                         $207.00   1.0   $207.00
                                     finished exhibits and Naumes 3rd Decl in Dropbox
                                     case file, email docs to CPS
                                     Final draft/edit/case law research/case law
                                     analysis/case law shepardizing Defendant’s
10/10/2022   AS    Judicial Review                                                         $207.00   4.3   $890.10
                                     MSJ/case law shepardizing of Plaintiff’s cases, in
                                     anticipation of filing
10/10/2022   CPS   Judicial Review   TJA: editing citations                                $207.00   0.7   $144.90

10/10/2022   CPS   Judicial Review   TJA: editing citations                                $207.00   0.2    $41.40

10/10/2022   CPS   Judicial Review   Edit P's Statement of Facts                           $684.00   0.2   $136.80
10/10/2022   CPS   Judicial Review   TC client re: numbering Exhibits                      $684.00   0.1    $68.40

10/10/2022   CPS   Judicial Review   Straighten out Exhibits to Naumes Decl                $684.00   0.7   $478.80
10/10/2022   CPS   Judicial Review   Review P's 3rd Decl                                   $684.00   0.2   $136.80

10/10/2022   CPS   Judicial Review   Edit Proposed Order                                   $684.00   0.3   $205.20

10/10/2022   CPS   Judicial Review   Edit Opposition Memo                                  $684.00   0.8   $547.20
                                     Edit/ file Opposition and supporting documents with
10/11/2022   AS    Judicial Review                                                         $207.00   1.1   $227.70
                                     the court
                                     Read court emails, download/file court stamped P's
10/11/2022   HM    Judicial Review                                                         $207.00   0.2    $41.40
                                     Opp in Dropbox case file, email clients dox
10/11/2022   CPS   Judicial Review   TJA: editing citations                                $207.00   0.3    $62.10

10/11/2022   CPS   Judicial Review   Review dox prior to filing                            $684.00   0.3   $205.20
10/11/2022   CPS   Judicial Review   Supervise filing of P's Opp                           $684.00   0.2   $136.80

10/11/2022   CPS   Judicial Review   Email client on next steps in litigation              $684.00   0.2   $136.80

10/11/2022   CPS   Judicial Review   TC client re: next steps in litigation                $684.00   0.1    $68.40
10/14/2022   HM    Judicial Review   Read emails between atty's and clients                $207.00   0.1    $20.70

10/21/2022   CPS   Judicial Review   Email Special AUSA approving D's MOET                 $684.00   0.1    $68.40

                                     Read court emails, download/file D's MOET re: D's
                                     Reply 10-24-22 to Dropbox case file, email client
10/25/2022   HM    Judicial Review                                                         $207.00   0.3    $62.10
                                     docs, put Minute Orders on Case List doc, add new
                                     dates to calendar

                                     Read court email, download/file court stamped D's
             HM
11/22/2022         Judicial Review   Reply 11-22-22 to Dropbox case file, email client     $207.00   0.1    $20.70
                                     doc
                                     Read court emails, add Minute Orders to Case List
                                     and Case Summary docs, add Motion Hearing date
12/07/2022   HM    Judicial Review                                                         $207.00   0.5   $103.50
                                     to calendar, read and respond to emails from CPS,
                                     TCF Thomas re: emailed him Minute Orders
12/07/2022   CPS   Judicial Review   Read Court Order                                      $684.00   0.1    $68.40

12/07/2022   CPS   Judicial Review   Email client re: prep for court's oral argument       $684.00   0.1    $68.40
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12/07/2022   CPS   Judicial Review   TC AUSA Haberland re: prep for oral argument         $684.00   0.1     $68.40
12/07/2022   CPS   Judicial Review   TA: TC CPS                                           $207.00   0.2     $41.40

12/07/2022   CPS   Judicial Review   TA: TC HM                                            $207.00   0.1     $20.70
12/08/2022   HM    Judicial Review   Read emails from Mr Kardell                          $207.00   0.1     $20.70

                                     TC client re: review of record for prep of counsel
12/08/2022   CPS   Judicial Review                                                        $684.00   0.5    $342.00
                                     for oral status conf.

12/08/2022   CPS   Judicial Review   TA: reviewing file                                   $207.00   0.3     $62.10

12/09/2022   HM    Judicial Review   Read and respond to email from CPS and Thomas        $207.00   0.1     $20.70
12/09/2022   CPS   Judicial Review   TA: reviewing emails                                 $207.00   0.4     $82.80

12/09/2022   CPS   Judicial Review   TA: reviewing and writing emails                     $207.00   0.3     $62.10
12/09/2022   CPS   Judicial Review   TA: reviewing case law                               $207.00   0.6    $124.20

12/09/2022   CPS   Judicial Review   TA: reviewing case law                               $207.00   0.8    $165.60

12/09/2022   CPS   Judicial Review   TA: reviewing case law                               $207.00   0.3     $62.10
12/10/2022   CPS   Judicial Review   Prepare for hearing                                  $684.00   0.1     $68.40

12/10/2022   CPS   Judicial Review   Prepare for hearing                                  $684.00   0.4    $273.60
12/10/2022   CPS   Judicial Review   Prepare for hearing on D's Motion                    $684.00   0.3    $205.20

12/10/2022   CPS   Judicial Review   TA: reviewing arguments                              $207.00   1.2    $248.40

12/10/2022   CPS   Judicial Review   TA: reviewing arguments                              $207.00   1.2    $248.40
12/10/2022   CPS   Judicial Review   TA: reviewing arguments                              $207.00   0.7    $144.90

12/10/2022   CPS   Judicial Review   TA: reviewing arguments                              $207.00   0.9    $186.30
12/10/2022   CPS   Judicial Review   TA: reviewing arguments                              $207.00   0.3     $62.10

12/10/2022   CPS   Judicial Review   TA: reviewing arguments                              $207.00   0.2     $41.40

12/10/2022   CPS   Judicial Review   TA: reviewing arguments                              $207.00   0.4     $82.80
12/11/2022   CPS   Judicial Review   TA: reviewing cases                                  $207.00   0.5    $103.50

                                     Email AUSA Haberland re: contacting Chambers
12/12/2022   CPS   Judicial Review                                                        $684.00   0.1     $68.40
                                     about zoom connection

12/13/2022   HM    Judicial Review   Read emails between CPS, AUSA, and client            $207.00   0.1     $20.70

12/13/2022   CPS   Judicial Review   Prepare for hearing                                  $684.00   0.3    $205.20
12/14/2022   CPS   Judicial Review   Prepare for hearing                                  $684.00   2.3   $1,573.20

12/14/2022   CPS   Judicial Review   TC AUSA Haberland re: prep for hearing               $684.00   0.1     $68.40
12/14/2022   CPS   Judicial Review   Prepare for hearing                                  $684.00   0.5    $342.00

12/14/2022   CPS   Judicial Review   Hearing before Judge Boasberg                        $684.00   0.4    $273.60

12/14/2022   CPS   Judicial Review   TC Sarah Naumes re: next steps in litigation         $684.00   0.3    $205.20

                                     Read email from client, update Case Summary doc
12/15/2022   HM    Judicial Review                                                        $207.00   0.2     $41.40
                                     re: Minute Entry

                                     Read court emails, download/file Judge's Opinion
                                     and Order 12-19-22 to Dropbox case file, email
12/19/2022   HM    Judicial Review   docs to client, draft Motion and Proposed Order,     $207.00   0.9    $186.30
                                     email links to CPS, read and respond to emails
                                     from CPS, update Case Summary doc
                                     Email AUSA Haberland requesting extension on
12/19/2022   CPS   Judicial Review                                                        $684.00   0.1     $68.40
                                     Motion for Attys' fees
12/19/2022   CPS   Judicial Review   Prepare draft proposed Order                         $684.00   0.2    $136.80

12/19/2022   CPS   Judicial Review   Review dates w/ AUSA Haberland                       $684.00   0.3    $205.20
12/19/2022   CPS   Judicial Review   Prepare Motion                                       $684.00   0.3    $205.20
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12/19/2022   CPS   Judicial Review   Read judicial Opinion                                  $684.00   0.3   $205.20
12/19/2022   CPS   Judicial Review   Email client answering Q's about next steps            $684.00   0.1    $68.40

                                     Read and respond to emails from CPS, edit MOET
                                     and Proposed Order, email CPS docs, edit Marc
                                     Kardell's time doc, zoom and file MOET and
12/20/2022   HM    Judicial Review                                                          $207.00   1.5   $310.50
                                     Proposed Order w/CPS, email client court stamped
                                     docs, update Case Summary, add dates to
                                     calendar

12/20/2022   CPS   Judicial Review   Revise Motion                                          $684.00   0.2   $136.80

12/20/2022   CPS   Judicial Review   Revise proposed Order                                  $684.00   0.2   $136.80
12/20/2022   CPS   Judicial Review   Oversee filing of MOET on Costs and Attys' Fees        $684.00   0.1    $68.40

12/20/2022   CPS   Judicial Review   Email client on next steps                             $684.00   0.2   $136.80
                                     Print out docket sheet, Marc Kardell time records
12/21/2022   HM    Judicial Review   and Naumes MyCase time records, read court             $207.00   1.0   $207.00
                                     emails, update Case Summary, email CPS

                                     Review time records for application of professional
12/22/2022   CPS   Judicial Review                                                          $684.00   0.5   $342.00
                                     billing judgment

12/22/2022   CPS   Judicial Review   Draft settlement letter                                $684.00   1.1   $752.40

12/22/2022   CPS   Judicial Review   Revise settlement letter                               $684.00   0.6   $410.40
12/28/2022   CPS   Judicial Review   Edit settlement letter                                 $684.00   0.4   $273.60

12/29/2022   CPS   Judicial Review   Revise settlement letter                               $684.00   0.5   $342.00

                                     Scan/file filing fee receipt to Dropbox case file,
12/30/2022   HM    Judicial Review   getting Exhibits A, B, and D finalized and filed in    $207.00   1.5   $310.50
                                     Dropbox
                                     Review and edit Sorenson Law Office time records
12/30/2022   HM    Judicial Review                                                          $207.00   2.0   $414.00
                                     in MyCase, calculate rates
                                     Change billing rates through MyCase for each entry
01/02/2023   HM    Judicial Review                                                          $207.00   2.5   $517.50
                                     to calculate correct amount for Attys costs and fees
                                     Read case emails, TCF CPS, edit Redacted
                                     Sorenson Decl, turn into Exhibit E and upload to
01/04/2023   HM    Judicial Review                                                          $207.00   1.0   $207.00
                                     Dropbox case file, draft settlement letter, email
                                     CPS link, update Case Summary
01/04/2023   CPS   Judicial Review   Review settlement letter                               $684.00   0.8   $547.20

01/04/2023   CPS   Judicial Review   Review redacted Sorenson Decl                          $684.00   0.2   $136.80

                                     Revise and edit SLO time records, edit settlement
01/05/2023   HM    Judicial Review                                                          $207.00   2.3   $476.10
                                     letter

01/05/2023   CPS   Judicial Review   Revise Settlement letter                               $684.00   0.4   $273.60

                                     Revise and review SLO time records, edit
                                     settlement letter, finish Ex. C and upload to
01/06/2023   HM    Judicial Review                                                          $207.00   3.0   $621.00
                                     Dropbox, TC CPS, email CPS docs to send to
                                     AUSA, update Case Summary

01/06/2023   CPS   Judicial Review   Review Settlement letter to Mr Haberland               $684.00   0.6   $410.40

                                     Email Mr Haberland seeking to narrow issues fro
01/10/2023   CPS   Judicial Review                                                          $684.00   0.2   $136.80
                                     Atty Fee Motion

01/13/2023   HM    Judicial Review   Read email from CPS to AUSA re: P's Fee Motion         $207.00   0.1    $20.70
01/17/2023   HM    Judicial Review   Read email from CPS to client                          $207.00   0.1    $20.70

01/17/2023   CPS   Judicial Review   TC Mr Haberland re: status of settlement               $684.00   0.1    $68.40
01/17/2023   CPS   Judicial Review   Email client re: status of settlement                  $684.00   0.1    $68.40

01/23/2023   HM    Judicial Review   Read emails from CPS to AUSA                           $207.00   0.1    $20.70
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                                     Read and respond to email from CPS to team on
01/23/2023   HM    Judicial Review   Atty Fee Motion, draft 4 gdocs in Dropbox, 3          $207.00   1.0   $207.00
                                     exhibits in folder, update case summary

01/23/2023   CPS   Judicial Review   Email AUSA Haberland re: narrowing Fee Motion         $684.00   0.2   $136.80

01/23/2023   CPS   Judicial Review   Email AUSA Haberland re: settlement status            $684.00   0.1    $68.40

                                     Outlining Memo of Law in Support of P's Motion for
01/23/2023   CPS   Judicial Review                                                         $684.00   0.3   $205.20
                                     Attys' Fees

01/24/2023   HM    Judicial Review   Edit Sorenson Decl                                    $207.00   0.5   $103.50

01/25/2023   CPS   Judicial Review   Email client re: filing schedule and ECF outage       $684.00   0.1    $68.40
01/26/2023   CPS   Judicial Review   TA: TC CPS                                            $207.00   0.2    $41.40

                                     Read emails from CPS to AUSA and CPS to client
                                     and CPS to team, create Fitzpatrick Matrix Exhibit,
01/26/2023   HM    Judicial Review                                                         $207.00   0.7   $144.90
                                     email CPS Q's re: exhibit names, create Naumes
                                     Fourth Decl

01/26/2023   CPS   Judicial Review   Email client re: getting organized                    $684.00   0.3   $205.20
01/26/2023   CPS   Judicial Review   Review exhibits for Sorenson Decl                     $684.00   0.3   $205.20

01/26/2023   CPS   Judicial Review   Outline Memo of Law                                   $684.00   0.2   $136.80

01/26/2023   CPS   Judicial Review   Draft Motion for AF                                   $684.00   0.2   $136.80
01/26/2023   CPS   Judicial Review   Draft Proposed Order                                  $684.00   0.2   $136.80

01/26/2023   CPS   Judicial Review   Organize motion project                               $684.00   0.2   $136.80

01/26/2023   CPS   Judicial Review   Email to confer on P's Motion for Atty Fees           $684.00   0.2   $136.80

                                     Read case emails, set up and revise Fee
01/27/2023   HM    Judicial Review   Motion/Law Memo/Proposed Order, email client          $207.00   0.8   $165.60
                                     and team links for the docs
01/27/2023   CPS   Judicial Review   Read email from AUSA Haberland                        $684.00   0.2   $136.80

01/28/2023   CPS   Judicial Review   TA: email to client                                   $207.00   1.4   $289.80

01/30/2023   CPS   Judicial Review   Review and approve JSR                                $684.00   0.2   $136.80
02/01/2023   CPS   Judicial Review   TA: TC CPS                                            $207.00   0.1    $20.70

02/01/2023   CPS   Judicial Review   TA: preparing Fee Motion                              $207.00   0.4    $82.80
02/01/2023   CPS   Judicial Review   TA: preparing Fee Motion                              $207.00   0.5   $103.50

02/01/2023   CPS   Judicial Review   TA: preparing Fee Motion                              $207.00   0.5   $103.50

02/01/2023   CPS   Judicial Review   TA: preparing Fee Motion                              $207.00   0.4    $82.80
02/01/2023   CPS   Judicial Review   TA: preparing Fee Motion                              $207.00   0.4    $82.80

                                     TC AUSA Haberland re: offer and narrowing
02/01/2023   CPS   Judicial Review                                                         $684.00   0.1    $68.40
                                     update

02/01/2023   CPS   Judicial Review   Revise Law Memo                                       $684.00   0.4   $273.60
02/01/2023   CPS   Judicial Review   Email client re: her Decl improvement                 $684.00   0.2   $136.80

                                     Read email from CPS to client and team, read and
02/02/2023   HM    Judicial Review                                                         $207.00   0.1    $20.70
                                     respond to email from Thomas
                                     Print out SLO time records, Marc Kardell's time,
                                     Settlement letter; draft new exhibit re: phases and
02/02/2023   HM    Judicial Review                                                         $207.00   2.3   $476.10
                                     costs, calculate time by phases, read and respond
                                     to emails from CPS
                                     Review time records for segmenting and for
02/02/2023   CPS   Judicial Review                                                         $684.00   0.9   $615.60
                                     application of billing judgment
                                     Read emails from CPS, Zoom with CPS and
02/03/2023   HM    Judicial Review   Thomas, TC Thomas, read and respond to email          $207.00   0.7   $144.90
                                     re: time entries, TC CPS and Thomas re: update
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                                     Calculate time records for CPS, calculate time for
02/03/2023   HM    Judicial Review   paralegals, update exhibit doc, update case          $207.00   3.5    $724.50
                                     summary

02/03/2023   HM    Judicial Review   TA: preparing documents                              $207.00   0.7    $144.90
02/03/2023   HM    Judicial Review   TA: preparing documents                              $207.00   0.3     $62.10

02/03/2023   HM    Judicial Review   TA: preparing exhibits                               $207.00   0.2     $41.40

02/03/2023   HM    Judicial Review   TA: preparing exhibits                               $207.00   0.5    $103.50
02/03/2023   HM    Judicial Review   TA: preparing exhibits                               $207.00   1.4    $289.80

02/03/2023   HM    Judicial Review   TA: preparing exhibits                               $207.00   0.9    $186.30
02/03/2023   CPS   Judicial Review   Edit Atty Fee Memo                                   $684.00   1.9   $1,299.60

02/04/2023   HM    Judicial Review   TA: preparing documents                              $207.00   0.3     $62.10

02/04/2023   HM    Judicial Review   TA: preparing documents                              $207.00   0.9    $186.30

02/04/2023   HM    Judicial Review   TA: preparing documents                              $207.00   0.6    $124.20

02/04/2023   CPS   Judicial Review   Revise Law Memo                                      $684.00   1.4    $957.60

02/04/2023   CPS   Judicial Review   Revise Sorenson Decl                                 $684.00   1.7   $1,162.80
02/04/2023   CPS   Judicial Review   Revise Law Memo                                      $684.00   0.7    $478.80

02/05/2023   HM    Judicial Review   TA: editing decl                                     $207.00   0.4     $82.80

02/05/2023   HM    Judicial Review   TA: editing decl                                     $207.00   0.5    $103.50

02/05/2023   HM    Judicial Review   TA: editing decl                                     $207.00   0.2     $41.40
02/05/2023   HM    Judicial Review   TA: reformatting Naumes decl                         $207.00   0.1     $20.70

02/05/2023   HM    Judicial Review   TA: drafting memo                                    $207.00   0.3     $62.10

02/05/2023   HM    Judicial Review   TA: drafting memo                                    $207.00   0.9    $186.30
02/05/2023   HM    Judicial Review   TA: drafting memo                                    $207.00   0.6    $124.20

02/05/2023   CPS   Judicial Review   Edit Sorenson Decl                                   $684.00   1.1    $752.40

02/05/2023   CPS   Judicial Review   Edit Law Memo                                        $684.00   1.3    $889.20
02/05/2023   CPS   Judicial Review   TC client re: update on her Decl                     $684.00   0.2    $136.80

02/06/2023   HM    Judicial Review   TA: TC CPS                                           $207.00   0.1     $20.70
02/06/2023   HM    Judicial Review   TA: reviewing files                                  $207.00   0.4     $82.80

02/06/2023   HM    Judicial Review   TA: TC CPS                                           $207.00   0.7    $144.90

                                     TC with Pete and Thomas, edit Sorenson Decl,
02/06/2023   HM    Judicial Review                                                        $207.00   2.0    $414.00
                                     edit Ex. C

02/06/2023   CPS   Judicial Review   Edit Sorenson Decl                                   $684.00   1.0    $684.00

02/06/2023   CPS   Judicial Review   Revise Exhibit C                                     $684.00   0.7    $478.80

02/07/2023   HM    Judicial Review   TA: TC CPS                                           $207.00   0.1     $20.70

02/07/2023   HM    Judicial Review   TA: researching cases                                $207.00   0.9    $186.30
02/07/2023   HM    Judicial Review   TA: timekeeping                                      $207.00   0.4     $82.80

02/07/2023   HM    Judicial Review   TA: timekeeping                                      $207.00   0.4     $82.80
02/07/2023   HM    Judicial Review   TA: preparing documents                              $207.00   0.4     $82.80

02/07/2023   HM    Judicial Review   TA: TC CPS                                           $207.00   0.4     $82.80

02/07/2023   CPS   Judicial Review   Revise Sorenson Decl                                 $684.00   0.8    $547.20
02/07/2023   CPS   Judicial Review   Edit Exhibit C                                       $684.00   0.2    $136.80

02/07/2023   CPS   Judicial Review   Edit Sorenson Decl                                   $684.00   0.2    $136.80
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02/07/2023    CPS      Judicial Review   Edit Law Memo                                       $684.00             0.4       $273.60
                                         Revise Ex. C and Sorenson Decl, read and
02/07/2023    HM       Judicial Review                                                       $207.00             2.2       $455.40
                                         respond to case emails
Non-billable Time Entries:

04/28/2021    CPS      Judicial Review   Initial 30 min. free consultation                   $653.00             0.5       $326.50
                                         Email to client re: next steps including fee
05/20/2021    CPS      Judicial Review   agreement and trust funds and response to ECD to    $653.00             0.2       $130.60
                                         assist in drafting Complaint

06/03/2021    KL       fee agreement     Drafted fee agreement language                      $200.00             0.5       $100.00

06/04/2021    KL       fee agreement     Edited and drafted Fee Agreement document           $200.00             0.5       $100.00
                                         Processing fee agreement; obtaining CPS
06/11/2021    KL       fee agreement                                                         $200.00             0.2        $40.00
                                         signature and filing

                                                                                              Totals:         389.2    $147,811.60
Expenses

Date          EE       Activity          Description                                            Cost        Quantity     Line Total

06/22/2021    KL       Judicial Review   Filing fee for judicial review                      $402.00             1.0       $402.00
                                         Postage to mail summons (3) and complaint;
06/24/2021    KL       Judicial Review                                                        $26.15             1.0        $26.15
                                         reimburse to Brian Josephson

                                                                                                    Expense Total:         $428.15


                                                                                            Time Entry Sub-Total:      $147,811.60
                                                                                              Expense Sub-Total:          $428.15
                                                                                                        Sub-Total:     $148,239.75


                                                                                                            Total:     $148,239.75
                                                                                                  Amount Paid:               $0.00

                                                                                                   Balance Due:        $148,239.75
